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                        IN THE UNITED STATES DISTRICT COURT
                            FOR THE DISTRICT OF COLUMBIA

 Banafsheh Zand,

                                 Plaintiff,

                        vs.                          Case Number: 1:19-cv-02070-JDB

 The Islamic Republic of Iran et al.;

                                Defendants.



                        DECLARATION OF LOHRASB POURZAND

COMES NOW Lohrasb Pourzand and states as follows:

   1. I am a citizen of Iran and France. I am currently residing in Paris, France.

   2. My brother is Mr. Siamak Pourzand.

   3. I was a Military General in the Imperial Army of Iran prior to the Islamic Revolution in

1979. Shortly after the revolution, I had to leave Iran to save my life from the threat of execution

for my participation in Imperial Army of Iran.

   4. I am living outside of Iran for over forty years now. During this time I was part of

different anti-government groups engaged in activities against the Islamic Republic of Iran. Our

actions are political and peaceful. I am for return of monarchy to Iran and I am against a

religious government.

   5. My brother, Mr. Siamak Pourzand, was a well-known journalist, who loved his job.

Unfortunately, he was not permitted to work in any media outlet for a few years before his

kidnapping in 2001.

   6. My brother was kidnapped by Iranian Security Forces and IRGC on November 29, 2011.




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   7. During his arrest, he was kept in hiding, without any attorney. I could not reach him, and

no one knew where he is detained. Government didn’t let us to hire a lawyer for him, and they

have appointed a security agent as his lawyer who played a major role in his torture.

   8. Siamak was under extreme torture. He told me and our sister that he was kept in solitary

confinement. His cell was all white, without windows. It was so small that when he was laying

down, his feet were over the ground toilet’s hole. He was kept in very cold “freezer” rooms for

long hours until he was close to fainting, and sometimes he fainted as well. He was forced to

witness the torture of other detainees, like beating, lashing, hanging and burning other detainees.

   9. He was forced to write his confessions for more than 12 hours per day in an

uncomfortable chair, to the point that his fingers were in pain and his old body was aching and

his feet were swollen. They didn’t let him shower for about four months. They burned him with

hot water while taking a shower. Once they gave him hair removal creams, but after he applied

the cream, they shut down the water and didn’t let him clean himself from the chemical, so his

body was severely burned by the chemical. He was never allowed to have an incident shower

while in jail. This caused him to have a very strong fear of the shower for the rest of his life.

Once, when his wife mentioned in an interview that he was deprived of nutritious food in prison,

authorities forced him to eat bags of cucumbers as his only “food” for 10 days. They were

punishing him for what his wife told the media.

   10. One day before his televised confession, they injected him with a drug without his

consent. In the televised confession, he confessed publicly against his family, including his wife

and his brother, his old friends and whoever he cared about and others, I was in shock. I knew he

was not telling the truth. When I saw his face on TV, I knew how bad his condition was. He

looked sad, depressed, timid and sickly. He lost so much weight; I can guess he lost about 80lb.




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His eyes were full of pain, stress, anxiety, and he was hopeless. He looked like someone who’d

given up and happy that for a few hours, due to the injection, he was physically without pain.

   11. His confession consisted of connecting my activities as someone related to the Iranian

prince’s office with artists, intellectuals and political activists, even reformists. He claimed that I

paid Siamak over $4,000,000 to be distributed among journalist in Iran, and I got that money

from the Prince’s office. Then he named individuals who supposedly received the money. That

was enough for those journalists and activists to be charged and convicted for treason. He further

confessed that we were trying to take over through the government of Iran, and that we were

helped by the CIA.

   12. After his televised confessions, he was charged and convicted in private to eleven years

in prison. At the time, we were hopeful that now his torture was going to end, but we were

wrong. They had a bigger plan for him. He went back to hidden jails and was tortured again to

get more information from him, and to use his additional confessions to arrest more people. I

know that at least forty persons were called for interrogations. Some left Iran and some faced

charges and jail time. A new case against his wife was even opened in Iran, and she received

calls from the FBI warning her of threats against her for speaking out against Iran.

   13. When he was moved to house arrest, I had weekly conversations with him. He was

medically ill and mentally disordered. He was far from normal, suffering and in constant fear. He

had to report all of his interactions with his interrogator and prosecutor, on an hourly basis.

Despite the fact that his activities and phone were under surveillance, he had the duty to report

his interactions immediately. This constant reporting was very stressful for him. He had to

answer to those who tortured him about the content of his conversations with his family. His

interrogators and prosecutors were visiting him at least weekly, if not 4 times per week.




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   14. He told me that when he was moved to house arrest, his interrogator said “you are not

physically in jail, but you will face such a hard condition that you will wish to die, and you will.”

   15. Based on my conversation with him, and understanding of his conditions, he was under

torture from November of 2001 when he was kidnapped until his death in 2011.

   16. Based on my knowledge, his death was direct result of Iranian Government actions. He

had no intention to attempt suicide on his own. Iranian agents came up with this story that he

attempted suicide and forced the family to accept this narration. We had no means to investigate

his death. But we are sure, his death was planned and executed by Iranian agents, even if it was

suicide, that was the direct result of physical and mental abused done by the Iranian agents.

   17. This event significantly damaged and affected the life of his family. For about ten years,

his family worked around the clock to bring international attention to Siamak’s case and to

provide emotional and financial support. They have compromised their own lives to support

Siamak. Same as what I am going through, I can attest that his family is still suffering from the

pain Siamak went through due to torture and his death up to this date.

   18. Because of all that Siamak suffered, his children and his family paid a huge price.

Banafsheh, Lily, and Azadeh lost a loving father, an important figure in their life. They never

recovered from the scares left on them by Iran.




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